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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NEW YORK


 AMERICAN TRANSIT INSURANCE COMPANY,

                              Plaintiff,              1:24-cv-00360-RPK-CLP

                   - against –

 BRADLEY PIERRE, MARVIN MOY, M.D.,
 RUTLAND MEDICAL P.C., WILLIAM A. WEINER,
 D.O., NEXRAY MEDICAL IMAGING, P.C. d/b/a
 SOUL RADIOLOGY MEDICAL IMAGING and
 JOHN DOES 1-15,

                             Defendants.




                 MEMORANDUM OF LAW IN SUPPORT OF
             PLAINTIFF’S MOTION FOR ALTERNATIVE SERVICE
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       Plaintiff American Transit Insurance Company (“American Transit”) respectfully submits

this memorandum of law in support of its motion for alternative service of process, requesting

permission to serve the Summons and Complaint on Defendant Marvin Moy, M.D. (“Moy”)

through alternative means.

                               PRELIMINARY STATEMENT

       American Transit, one of the largest no-fault insurance providers for the taxi and livery

commercial auto industry in New York, filed this action on January 17, 2024, against Moy and his

co-defendants, Bradley Pierre, William Weiner, D.O., Rutland Medical P.C. (“Rutland”), Nexray

Medical Imaging, P.C. d/b/a Soul Radiology Medical Imaging (“Nexray”), and John Does 1-15.

As alleged in the Complaint, Moy and his co-defendants operated an illegal scheme to defraud

American Transit out of millions of dollars by collecting payments from American Transit on

fraudulent and non-compensable No-Fault insurance claims. For more than six years, Moy and

his co-defendants used Rutland, a New York professional corporation, to submit claims for

unnecessary and excessive medical treatments to American Transit. Moy is the nominal owner of

Rutland, but Rutland is actually owned or controlled by Defendant Pierre, an unlicensed layperson,

in violation of New York law. American Transit has asserted claims against Moy and his co-

defendants under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et

seq., the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, New York Public Health Law §

238-a, and for fraud and unjust enrichment.

       Moy, Pierre, and Weiner were indicted for healthcare fraud and other crimes in connection

with the unlawful operation of Rutland in United States v. Pierre, No. 1:22-cr-00019-PGG

(S.D.N.Y.). Pierre has recently pled guilty to conspiracy to commit Travel Act bribery and

conspiring to defraud the United States (via the Internal Revenue Service). Defendant Weiner has

also pled guilty to conspiracy to commit healthcare fraud the United States in connection with his
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involvement in Defendant Nexray, an x-ray and MRI provider, that was also illegally owned or

controlled by Pierre which Pierre has not denied as part of his guilty plea.

       Moy, who remains a criminal defendant, and a defendant in this action, has been missing

since October 2022. While American Transit has successfully served the Summons and Complaint

in this action on Pierre, Weiner, Rutland, and Nexray, American Transit has been unable to

effectuate service on Moy. Accordingly, American Transit now seeks leave to complete service

on Moy through alternative means.

                                   FACTUAL BACKGROUND

  I.   Moy’s Disappearance at Sea

       On or about October 13, 2022, Moy allegedly disappeared during a fishing trip onboard a

recreational vessel approximately 16 miles off the coast of Long Island, New York. His criminal

counsel reported that he was “involved in a boating accident.” (See Declaration of James W.

Perkins, dated February 16, 2024 (“Perkins Decl.”) Ex. 1 (Tr. of Proceedings at p. 3, United States

v. Pierre, No. 1:22-cr-00019-PGG (Oct. 19, 2022 S.D.N.Y.)).) The United States Coast Guard

conducted a search and rescue mission for Moy without success but reportedly informed counsel

“that an investigation is ongoing,” and that Moy “is not considered deceased until the investigation

is concluded and such a determination is made.” Id. On October 19, 2022, the court in Pierre

issued a bench warrant for Moy’s arrest in the event that he was not deceased and was “voluntarily

absenting himself.” Id. at p. 4.

       Moy’s disappearance has been reported by several news outlets. See, e.g., Michael Wilson,

“The Mysterious Case of the Doctor Who Disappeared at Sea,” The New York Times, Dec. 22,

2022, available at https://www.nytimes.com/2022/12/22/nyregion/marvin-moy-boat-missing.html

(last visited Feb. 14, 2024); KC Baker, “Doctor Vanished in Mysterious Nighttime Boating

Accident After Being Charged in $100m Fraud Scheme,” People, Nov. 2, 2022, available at

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https://people.com/crime/doctor-vanished-nighttime-boating-accident-charged-fraud-scheme

(last visited Feb. 14, 2024).1 During a hearing in the Pierre action on April 28, 2023, the court

noted that “Defendant Marvin Moy has been missing for months and is either dead or a fugitive.”

(Perkins Decl. Ex. 4 (Tr. of Proceedings at p. 2, United States v. Pierre, No. 1:22-cr-00019-PGG

(S.D.N.Y. Apr. 28, 2023)).) To date, there have been no further reports about the Coast Guard’s

investigation or Moy’s current whereabouts. Moy remains an active criminal defendant and is

represented by retained counsel in that matter.

    II.   American Transit’s Service on Moy’s Co-Defendants

          American Transit filed this action on January 17, 2024. (ECF No. 1.) The Clerk of the

Court issued summons to all defendants on January 19, 2024. (ECF No. 9.) American Transit

served Rutland, Nexray, and Weiner on January 22, 2024 (ECF Nos. 10, 13) and Pierre on January

24, 2024 (ECF No. 14). On January 22, 2024, American Transit attempted to serve Moy at his

last known residence but was informed that he no longer resides there. (Perkins Decl. at ¶ 9.)

                                      LEGAL STANDARD

          Plaintiffs must serve all defendants with copies of the summons and complaint. See Fed.

R. Civ. P. 4(c). Service may be accomplished on an individual by personal service, by delivery at

the individual’s dwelling or usual place of abode, or by delivery upon an agent authorized by

appointment or by law to receive service of process. See Fed. R. Civ. P. 4(e)(2). Service may also

be accomplished by following the law of the state where the district court is located. See id. at

4(e)(1).

          Under New York law, personal service upon a natural person may be made by delivering

the summons and complaint to the individual, by delivering the summons and complaint to a


1
 Copies of the articles published by The New York Times and People are attached as Exhibits 2 and
3 to the Perkins Decl.

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person of suitable age at the individual’s usual place of abode or business, or by affixing copies to

the individual’s door and mailing copies to the individual’s usual place of abode or business. See

N.Y. C.P.L.R. § 308(1)-(2), (4).

       Service can also be accomplished “in such manner as the court, upon motion without

notice, directs, if service is impracticable under paragraphs one, two and four of this section.” Id.

at § 308(5). An application for service under § 308(5) requires a “showing of impracticability of

other means of service, but does not require proof of due diligence or of actual prior attempts to

serve a party under the other provisions of the statute. The meaning of ‘impracticability’ depends

upon the facts and circumstances of the particular case.” Ferrarese v. Shaw, 164 F. Supp. 3d 361,

365 (E.D.N.Y. 2016) (quoting Fortunato v. Chase Bank USA, N.A., No. 11-CV-6608, 2012 U.S.

Dist. LEXIS 80594 (S.D.N.Y. 2012)). “In shaping an appropriate method for alternate service, the

Court must ensure that the alternate method complies with ‘constitutional due process’ by being

‘reasonably calculated, under the circumstances, to apprise interested parties of the pendency of

the action and afford them an opportunity to present their objections.’” Id. at 366.

                                          ARGUMENT

       Traditional methods of serving Moy are impracticable under the circumstances presented

here. Moy’s whereabouts are unknown and remain the subject of an ongoing investigation.

(Perkins Decl. ¶ 10.) Because Moy is missing, it is impossible to serve him personally or at his

usual place of business or residence. (Perkins Decl. ¶ 9.) Additionally, because Moy has not been

declared deceased, it is likewise impossible to serve him through an appointed representative of

his estate. (Perkins Decl. ¶ 11.) Accordingly, American Transit should be permitted to serve Moy

by service him through is criminal defense counsel.

       Service upon Moy’s criminal defense counsel in the Pierre action is reasonably calculated

to apprise Moy of this action.        Moy’s criminal defense attorneys are familiar with the

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circumstances of his disappearance and the underlying investigation and have an interest in Moy’s

whereabouts and access to his most current contact information.2 (Perkins Decl. ¶¶ 12-13.)

Counsel may also be aware of any existing appointments or directives that designate an agent to

act on Moy’s behalf. Through this alternative means of service, copies of the Summons and

Complaint would be served upon Moy’s criminal defense counsel by regular mail and electronic

mail.

        Service upon Moy’s criminal defense counsel in the Pierre action is an acceptable

alternative method of service because it comports with due process. See Hammock v. Moving

State, No. 18-CV-5628, 2021 U.S. Dist. LEXIS 167372, at *4 n.1 (E.D.N.Y. 2021) (explaining

that court “ordered that service may be effectuated by sending a copy of the Third Amended

Complaint to the Individual Defendants’ criminal counsel both by regular mail to his office and

by email” and that such manner of service “was the best reasonably calculated method, under the

circumstances, to apprise the Individual Defendants of the pendency of the action and afford them

an opportunity to present their objections”); Ransome v. Epstein, No. 17-CV-616, 2018 U.S. Dist.

LEXIS 15295, *4 (S.D.N.Y. 2018) (holding that alternative “service by email and personal

delivery to [defendant’s counsel in other pending litigation] [was] reasonably calculated to provide

[defendant] with notice of this lawsuit and an opportunity to respond”).

        In fact, a District Judge in this District has already allowed this exact alternative means of

service on Moy in a different civil litigation for the same reasons set forth by American Transit

herein. (See Perkins Decl. Ex. 6 (Allstate Ins. Co. v. Pierre, No. 1:23-cv-06572-NRM-LB

(E.D.N.Y. Sept. 13, 2023), ECF No. 11).) The Allstate court held that the plaintiffs had met the

burden of demonstrating that the statutorily prescribed methods of service were impracticable


2
 Moy’s criminal counsel of record is Eric M. Creizman and Melissa Madrigal of Morrison Cohen
LLP. An up-to-date copy of the Pierre docket is attached as Exhibit 5 to the Perkins Decl.

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because “[g]iven Moy’s disappearance in a boating accident and the ongoing Coast Guard

investigation, plaintiffs cannot serve Moy personally or at his usual place of business or residence”

and because “[p]laintiffs similarly cannot serve a representative of Moy’s estate, as Moy has not

been declared deceased.” Id.at 2. These circumstances continue to render the traditional methods

of service equally impracticable in this litigation.

       The Allstate court further held, “If he is still alive, service of process on Moy’s criminal

defense counsel is reasonably calculated to give him notice of this action, given that Moy went

missing during the pendency of a criminal prosecution for which he retained said counsel, and that

the criminal prosecution and the instant action both relate to Moy’s operation of two medical

professional corporations.” Id. at 3. The court granted the plaintiffs’ request for alternative service

and ordered service on Moy by serving the summons and complaint on Moy’s criminal counsel by

regular mail and electronic mail. See id. This Court should provide the same relief here.

                                          CONCLUSION

       For the foregoing reasons, American Transit respectfully requests that the Court issue an

order granting permission to serve Moy with copies of the Summons and Complaint through the

alternative means described herein or by any other manner the Court deems appropriate. American

Transit further requests permission to use these alternative means to serve Moy with all other

papers in this matter until Moy is either located or declared deceased.

Dated: New York, New York
       February 16, 2024

                                                  GREENBERG TRAURIG, LLP


                                                  By: /s/ James W. Perkins
                                                      James W. Perkins
                                                      Lizzie Sullivan
                                                      Noah Lindenfeld
                                                      One Vanderbilt Avenue

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                                           New York, New York 10017
                                           (212) 801-9200
                                           perkinsj@gtlaw.com
                                           sullivanel@gtlaw.com
                                           noah.lindenfeld@gtlaw.com

                                           SHORT & BILLY, P.C.

                                           Skip Short
                                           Ioanna Zevgaras
                                           217 Broadway Suite 300
                                           New York, New York 10007
                                           (212) 732-3320
                                           sshort@shortandbilly.com
                                           ioanna@shortandbilly.com

                                           Attorneys for American Transit
                                           Insurance Company




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